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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     8:17CR59

       vs.
                                                                       ORDER
CHRISTINA WALKER,

                      Defendant.


     UPON THE ORAL MOTION OF THE DEFENDANT,


     IT IS ORDERED that the Change of Plea hearing is continued to January 16, 2018 at 10:00
a.m. before Magistrate Judge Michael D. Nelson, Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.


       For this defendant, the time between today’s date and the change of plea hearing is
excluded for purposes of computing the limits under the Speedy Trial Act. See 18 U.S.C. §
3161(h)(7)(A), (B)(i). The Court finds that the ends of justice served by the granting of such
continuance outweigh the best interests of the public and the defendant in a speedy trial for the
reason that defendant has been approved for a diversion program and further time is required for
him to complete such program.


       Since this is a criminal case, the defendant must be present, unless excused by the Court.


       Dated this 3rd day of January, 2018.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge
